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AO 472 (Rev. 02/24) Order of Detention Pending Trial (Modified)




                                       UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Western District of Washington

                       United States of America                             )
                                  v.                                        )
                                                                            )                  Case No. MJ25-5051
 Dilan Zamora Garcia                                                        )
                                  Defendant



                                                             DETENTION ORDER
                                                          Part I - Eligibility for Detention

 Upon motion of: ✔ the Government, in a case involving an enumerated offense, 18 U.S.C. § 3142(f)(1), or
                   the Government or Court, in a case involving a serious flight risk, 18 U.S.C. § 3142(f)(2)(A), or
                   the Government or Court, in a case involving serious obstruction risk, 18 U.S.C. § 3142(f)(2)(B),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of
fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                              Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

    ✔   A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses):
        There is a rebuttable presumption that no condition or combination of conditions will reasonably assure the
        appearance of the defendant as required and the safety of the community because there is probable cause to
        believe that the defendant committed an offense:
             ✔ (1) for which a maximum term of imprisonment of 10 years or more is prescribed in the

               Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and
               Export Act (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
               (2) under 18 U.S.C. §§ 924(c) (firearm), 956(a) (violent foreign conspiracy), or 2332b (terrorism);
               (3) listed in 18 U.S.C. § 2332b(g)(5)(B) (terrorism-related offenses) for which a maximum term of
               imprisonment of 10 years or more is prescribed;
               (4) under 18 U.S.C. §§ 1581-1597 (slavery and human trafficking) for which a maximum term of
               imprisonment of 20 years or more is prescribed; or
               (5) involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,
               2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
               2260, 2421, 2422, 2423, or 2425.

        B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (prior pretrial release violator): There is
        a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety of any
        other person and the community because the following conditions have been met:
                (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                       (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                       § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                       (b) an offense for which the maximum sentence is life imprisonment or death; or



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                          (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in
                          the Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and
                          Export Act (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-
                          70508); or
                          (d) any felony if such person has been convicted of two or more offenses described in
                          subparagraphs (a) through (c) of this paragraph, or two or more State or local offenses that would
                          have been offenses described in subparagraphs (a) through (c) of this paragraph if a circumstance
                          giving rise to Federal jurisdiction had existed, or a combination of such offenses; or
                          (e) any felony that is not otherwise a crime of violence but involves:
                          (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C.
                          § 921); (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
                  (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
                  § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving
                  rise to Federal jurisdiction had existed; and
                  (3) the prior conviction described in paragraph (2) involves an offense committed while the
                  defendant was on release pending trial for a Federal, State, or local offense; and
                  (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
                  defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

          C. Conclusions Regarding Applicability of Any Presumption Established Above

                 ✔   The defendant has not introduced sufficient evidence to rebut the presumption above, and detention
                     is ordered on that basis. (Part III need not be completed.)

                     OR

                     The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                     presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

      After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because:

    ✔   Flight Risk: The government proved by a preponderance of evidence that no condition or combination of
        conditions of release will reasonably assure the defendant’s appearance as required.

    ✔   Dangerousness: The government proved by clear and convincing evidence that no condition or combination
        of conditions of release will reasonably assure the safety of any other person and the community.

        Stipulation: The defendant knowingly and voluntarily stipulated to detention without prejudice. The Court
        affirmed the defendant may request a detention hearing and upon such request the Court will schedule a
        detention hearing.




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In addition to any findings made on the record at the hearing, the reasons for detention include the following:

         ✔   Nature and circumstances of the offense
         ✔
             Subject to lengthy period of incarceration if convicted
         ✔   Weight of evidence against the defendant is strong (least important factor)
         ✔   History of violence or use of weapons
             Attempt(s) to evade law enforcement or escape
             Criminal history
             Failure(s) to appear in court as ordered
             On probation, parole, or supervision during the current offense/arrest
             Violations of probation, parole, or supervised release
         ✔   Lack of stable residence
             Lack of legal status in the United States
         ✔
             Lack of significant family ties
             Significant family or other ties outside the United States
         ✔   Lack of significant community ties
         ✔
             Lack of stable employment
             Lack of financially responsible sureties
             Dishonest conduct, false statements, or fraud
             Use of alias(es) or false documents
             History of alcohol or substance abuse
         ✔   Lack of financial ties
             Unstable mental condition


OTHER REASONS OR FURTHER EXPLANATION:
All the reasons stated on the record at the detention hearing.

This Order further incorporates the Court's oral ruling.




                                                  Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity
for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility must deliver the defendant to a United States
Marshal for the purpose of an appearance in connection with a court proceeding.



             Dated: 2/19/2025

                                                                          Hon.     A
                                                                          United States Magistrate Judge
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